










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





CARLOS GUSTAVO PERLASCA,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.


THE STATE OF TEXAS,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

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No. 08-10-00246-CR

Appeal from the

County Criminal Court 3

of El Paso County, Texas 

(TC# 20090C06776) 





MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Carlos Gustavo Perlasca is attempting to appeal his conviction for assault causing bodily
injury against a family member.  Because he did not file a timely notice of appeal, we dismiss the
appeal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 5, 2010, this Court received a letter from Appellant, indicating that he wished
to pursue an appeal in this matter.  In the letter, Appellant states that he had written the trial judge
more than two months earlier to request an appeal and that he knows he is “way out of the
deadline.”  Appellant also provided this Court with a copy of a judgment, indicating that he was
placed on community supervision on December 17, 2009.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By letter dated August 12, 2010, the clerk of this Court advised Appellant that she had
filed his letter as a notice of appeal.  The clerk further advised Appellant of the Court’s intent to
dismiss the appeal for want of jurisdiction because the notice of appeal did not appear to be
timely.  The clerk informed Appellant that unless he could show grounds for continuing the
appeal within ten days, the appeal could be dismissed without further notice.  To this date,
Appellant has not responded to the clerk’s letter.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A timely notice of appeal is necessary to invoke this Court’s jurisdiction.  Olivo v. State,
918 S.W.2d 519, 522 (Tex.Crim.App. 1996).  Because there is no indication that a motion for
new trial was filed, Appellant’s notice of appeal was due to be filed on January 19, 2010--thirty
days after the day sentence was imposed in open court.  See Tex.R.App.P. 26.2(a); see also 
Tex.R.App.P. 4.1(a)(providing that if the last day of a period falls on a weekend or a legal
holiday, the period extends to the next day that is not a Saturday, Sunday, or legal holiday).  To
obtain an extension of time to file the notice of appeal, Appellant was required to file both the
notice of appeal and a motion for extension of time within fifteen days of the due date.  See
Tex.R.App.P. 26.3.  Appellant did not comply with this procedure.  His notice of appeal,
received in this Court on August 5, 2010, was not timely.  Accordingly, we dismiss the appeal for
want of jurisdiction.


September 22, 2010
DAVID WELLINGTON CHEW, Chief Justice

Before Chew, C.J., McClure, and Rivera, JJ.

(Do Not Publish)


